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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES
_________________________________________
                                          :
                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:

           DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR
            PRELIMINARY INJUNCTION LIMITED TO SUSPENSION



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                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES
_________________________________________
                                          :
                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:

             DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR
              PRELIMINARY INJUNCTION LIMITED TO SUSPENSION

                                        INTRODUCTION

       Pursuant to United States Court of International Trade Rule 65, defendants, the United

States, et al., respectfully request that the Court deny the motion for preliminary injunction filed

by plaintiffs, HMTX Industries, LLC, Halstead New England Corp., Metroflor Corporation, and

Jasco Products Company LLC (collectively “plaintiffs”). See Plaintiffs’ Motion For Preliminary

Injunction Limited To Suspension of Liquidation (hereinafter “Pl. Mot.”).

       Injunctive relief is unwarranted because plaintiffs cannot demonstrate any of the four

required factors. First, plaintiffs’ limited discussion of the merits fails to demonstrate any chance

of success. Plaintiffs allege that the Office of the United States Trade Representative (USTR)

exceeded its modification authority under section 307 of the Trade Act of 1974 (Trade Act), as

amended (19 U.S.C. § 2417), in promulgating List 3 and List 4A. This claim, however, is based

on a flawed view of section 307 that misconstrues the statute’s text and congressional intent.

       The USTR’s promulgation of Lists 3 and 4A, at the President’s direction, was made

under section 307’s authority to modify an action, which does not impose a one-year time limit.

Nor does the statutory text support plaintiffs’ contention that, in enacting section 307(a)(1)(B),

Congress intended to render the USTR (acting either on its own, or at the direction of the

President) a completely ineffective negotiator. China’s refusal to cease its unlawful practices
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and, instead, its adoption of measures intended to pressure the United States to drop its section

301 trade action, revealed that the initial action was insufficient. Thus, modification of the

action under section 301(a)(1) was appropriate and authorized. 19 U.S.C. § 2417(a)(1)(B)-(C).

       Plaintiffs’ other argument, that section 307(a)(1) grants the USTR (acting on its own, or

at the President’s direction) the discretion only to “delay, taper or terminate such actions,” (rather

than to take increased measures, for example) is simply wrong. Pl. Mot. 13. The provision

explicitly applies in situations where the burden of the unfair practice has increased. Moreover,

the U.S. House of Representative Committee on Ways and Means report accompanying H.R. 3

states: “Any modification may be either an increase or a reduction in the level or the form of

action, as appropriate” and “[m]odifications could either be reduction or elimination of the

action, if it has achieved the desired objective or continuation is not in the U.S. economic

interest, or additional or increased measures if further leverage or offsetting action is deemed

necessary and appropriate.” H.R. REP. NO. 100-40, pt. 1, at 75-76 (1987) (emphasis added).1

       The public interest and balance of harms also weigh heavily in favor of the United States.

The USTR, at the President’s direction, has determined that the acts, policies, or practices of the

Chinese government are unreasonable or discriminatory and burden United States commerce. It

is undisputed that China initially refused to change its unfair trade practices in response to Lists 1

and 2, and that China instead took further action to maintain those acts, policies, and practices

through the imposition of tariffs on U.S. goods, which further burdened United States commerce.

       Furthermore, the challenged modifications to the action resulted in concrete progress in

addressing China’s unfair and harmful policies. In response to the increase in trade coverage



1
 H.R. 3 was the bill that was debated prior to the 1988 amendment to the Trade Act. H.R. 3
was ultimately reintroduced with two modifications (that are not at issue in the Section 301
Cases) as H.R. 4848, which is the bill that was ultimately signed into law.
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resulting from the modifications, China agreed to enter into serious negotiations, resulting in the

landmark Phase One trade agreement that addresses some of the issues covered in the section

301 investigation. The Administration is currently engaged in enforcing that agreement, and

further U.S.-China negotiations will address additional concerns identified in the section 301

investigation. Those compliance and negotiation activities should not be impaired by plaintiffs’

litigation, or the cloud that would be cast over the section 301 action were the Court to order

suspension of liquidation of the entries. The public’s interest in protecting United States

commerce from China’s unfair trade practices, and in maintaining a strong negotiating position

to pressure China to change its practices, outweighs the possible harm alleged by plaintiffs (i.e.,

the inability to recover certain of the assessed duties should plaintiffs prevail on the merits).

       Finally, implementing an order to suspend the liquidation of millions of entries subject to

the List 3 and List 4A tariffs would impose an enormous administrative burden on the

Government. This burden has only been amplified by plaintiffs’ years-long delay in challenging

these tariffs and bringing issues of relief before the Court, as millions of entries have been made

during this time that are subject to the challenged tariffs. This delay undermines plaintiffs’ claim

that they will suffer immediate, irreparable harm absent extraordinary injunctive relief.

       Accordingly, the Court should deny plaintiffs’ motion, as it fails to satisfy any of the four

required factors that must be established to obtain preliminary injunctive relief.

                                       STATEMENT OF FACTS

       A.      Statutory Framework

       The President, through the USTR, has responsibility for developing and coordinating

United States trade policy. 19 U.S.C. § 2171(c)(1)(A). In matters of international trade, the

USTR is the chief representative of the United States responsible for negotiations and policy



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guidance. 19 U.S.C. § 2171(c)(1)(C), (D). However, the USTR is established within the

Executive Office of the President, and all decisions made by the USTR are made subject to the

direction of the President. 19 U.S.C. § 2171(a); see also Reorganization Plan No. 3 of 1979, 44

Fed. Reg. 69,273 (President of the United States Dec. 3, 1979) at 69,274, codified in 5 U.S.C.A.

§ APP. 1 REORG. PLAN 3 1979 (West). The section 307 modification authority at issue here is

explicitly subject to the direction of the President, and the President provided that direction with

respect to the specific modifications at issue.

       This litigation concerns the President’s authority, and the USTR’s authority, “subject to

the specific direction, if any, of the President,” under sections 301, 304 and 307 of the Trade Act.

Under section 301, the USTR possesses the discretionary authority to initiate an investigation to

determine whether (1) a foreign country is engaging in “an act, policy or practice . . . [that is]

unreasonable or discriminatory and burdens or restricts United States Commerce”; and (2)

“action by the United States is appropriate.” 19 U.S.C. §§ 2411(b)(1)-(2); see 19 U.S.C. §

2412(b) (authorizing an investigation by means other than a petition from the domestic industry).

       If, as here, the President or the USTR, determines that it is “appropriate” to take initial

action in response to an investigation conducted by the USTR, the President (or the USTR acting

at the President’s direction) is granted broad discretion in order to obtain the elimination of the

act, policy, or practice. Specifically, section 301(b)(2) provides that:

               [T]he Trade Representative shall take all appropriate and feasible
               action authorized under subsection (c) of this section, subject to
               the specific direction, if any, of the President regarding any such
               action, and all other appropriate and feasible action within the
               power of the President that the President may direct the Trade
               Representative to take under this subsection, to obtain the
               elimination of that act, policy, or practice.




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19 U.S.C. § 2411(b)(2) (emphasis added). The USTR must determine an initial action within

“12 months after the date on which the investigation is initiated.” 19 U.S.C. § 2414(a)(2)(B).

          Section 301(c) specifies specific types of initial action the USTR, subject to the direction

of the President, may take to obtain the elimination of the acts, policies, or practices under

investigation. For example, under section 301(c)(1)(B), the USTR possesses the discretion to:

                 impose duties or other import restrictions on the goods of, and
                 notwithstanding any other provision of law, fees or restrictions on
                 the services of, such foreign country for such time as the Trade
                 Representative deems appropriate.

19 U.S.C. § 2411(c)(1)(B).

          If the USTR takes initial action, the President and the USTR retain the discretion to

determine whether to “modify or terminate any action.” 19 U.S.C. § 2417(a). Section 307(a)

states:

                          (1)       The Trade Representative may modify or terminate
                 any action, subject to the specific direction, if any, of the President
                 with respect to such action, that is being taken under section 2411
                 of this title if –
                          …

                         (B) the burden or restriction on United States commerce of
                 the denial rights, or of the acts, policies, and practices, that are the
                 subject of such action has increased or decreased, or

                          (C) such action is being taken under section 2411(b) of this
                 title and is no longer appropriate.

          Section 301 is best described as a “negotiating tool to ensure that foreign countries adhere

to their trade agreement obligations benefitting the United States and to obtain the elimination of

other unjustifiable, unreasonable, or discriminatory foreign practices.” S. REP. NO. 100-71, at 73

(1987); see 133 CONG. REC. 20486 (1987) (statement of Sen. Lautenberg). In enacting section

301, Congress stated its expectation that “these [section 301] powers be exercised vigorously to



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insure fair and equitable conditions for U.S. commerce.” S. REP. NO. 93-1298 (1974), reprinted

in 1974 U.S.C.C.A.N. 7186, 7302.

       Section 301 was amended in 1979, 1984, and 1988. See Trade Agreements Act of 1979,

Pub. L. No. 96-39, 93 Stat. 144; Trade and Tariff Act of 1984, Pub. L. No. 98-573, 98 Stat. 2948;

Omnibus Foreign Trade and Competitiveness Act of 1988, Pub. L. No. 100-418, 102 Stat. 1107

(Trade Act of 1988). Each subsequent amendment strengthened the section 301 provision. By

the late 1980s — when Congress enacted section 307 — Congress was frustrated with

Presidential inaction, stating “[t]oo often U.S. Presidents have opted to do nothing in the face of

provocative foreign trade barriers and trade-distorting practices.” S. Rep. No. 100-71 (1987), at

73-74. Concerned that the President “ha[d] the option to do nothing,” Congress “substantially

strengthen[ed] section 301 of the 1974 Trade Act, the provision which authorizes the President to

address unjustifiable, unreasonable and discriminatory foreign actions.” Id. at 6, 74; see

Conference on H.R. 3, To Enhance the Competitiveness of American Industry: Hearing Before

the Comm. of Ways and Means, 100th Cong. 4 (1987) (statement of Sen. Bentsen) (“For too

many years, we have seen trade in this country used as a handmaiden for other foreign policy

objectives for our country.”).

       For example, to compel action against foreign unfair trade practices, the 1988 Trade Act

transferred the authority to decide whether and what type of action is appropriate to the USTR,

“subject to the specific direction, if any, from the President.” Trade Act of 1988, § 1301(a), 102

Stat. at 1164; see H.R. Rep. No. 100-40, pt. 1 (1987) at 59. For investigations under section

301(b), which cover a broader range of unreasonable practices (such as those involved in the

section 301 investigation), the 1988 Trade Act provides the USTR with discretionary authority

“subject to the specific direction, if any, of the President” to take “all appropriate and feasible



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action,” as authorized by section 301(c). Trade Act of 1988 § 1301(a), 102 Stat. at 1164-1165;

H.R. Rep. No. 100-40, pt. 1 (1987) at 60-62; Sen. Rep. No. 100-71 (1987) at 13-15.

       Finally, and most importantly for purposes of this litigation, the 1988 Trade Act gave the

USTR, “subject to the specific direction, if any, of the President,” the express authority to

“modify or terminate a section 301 action” at any time if certain conditions were met. H.R. Rep.

100-40, pt. 1 (1987) at 75-76; Trade Act of 1988 § 1301(a), 102 Stat. at 1174. Those conditions

include situations where the burden on U.S. commerce has increased since the time the initial

action was taken. 19 U.S.C. 2417(a)(1)(B). Consistent with the plain text, H.R. 3 (the House

Report for a bill that was similar to the one ultimately signed into law) explained that “[a]ny

modification may be either an increase or a reduction in the level or the form of action, as

appropriate.” H.R. REP. NO. 100-40, pt. 1, at 75 (1987) (emphasis added). Put differently,

“[m]odification could either be reduction or elimination of the action if it has achieved the

desired objective or continuation is not in the U.S. economic interest, or additional or increased

measures if further leverage or offsetting action is deemed necessary and appropriate.” Id. at

76 (emphasis added); see also Sen. REP. NO. 100-71 (1987) at 84; H.R. CONF. REP. 100-576

(1988) at 564-65.2



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   This was not the first time the U.S. House of Representatives had sought to add the authority
to impose “increased measures.” A prior bill, H.R. 4750, 99th Cong. (1986), also sought to add
the authority to “modify or terminate” an action under section 301 and contained identical
language. H.R. REP. NO. 99-581, pt. 1 (1986) at 43 (“The amendments will provide the USTR
specific authority to modify or terminate section 301 actions if . . . the action is ineffective.
Modifications could either be reduction or elimination of the action . . . or additional or
increased measures if further leverage or offsetting action is deemed necessary and
appropriate.”) (emphasis added).

In 1986, the USTR actually opposed amendments to add modification authority as unnecessary,
stating, “[w]e . . . already have authority to modify actions taken under Section 301.” Trade
Reform Legislation: Hearing Before the H. Subcomm. on Trade of the Comm. on Ways and
Means, 99th Cong. 99-78 (1986) at 348 (statement of Ambassador Clayton Yeutter).
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       B.      The Section 301 Investigation

       On August 14, 2017, the President notified the USTR that China engages in certain

actions related to intellectual property, innovation, and technology that may negatively impact

United States industries. Findings of the Investigation into China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation Under Section 301 of the

Trade Act of 1974 (U.S. Trade Rep. Mar. 22, 2018) (Section 301 Findings) at 4, available at

https://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF; Addressing China’s Laws,

Policies, Practices, and Actions Related to Intellectual Property, Innovation, and Technology, 82

Fed. Reg. 39,007, 39,007 (President of the United States, Aug. 17, 2017). The President directed

the USTR to determine whether to investigate under section 301 China’s law, policies, practices,

or actions that may be harming American interests. Id.

       On August 18, 2017, the USTR initiated a section 301 investigation into a wide range of

allegedly unfair practices by the Chinese government. Section 301 Findings at 5; Initiation of

Section 301 Investigation; Hearing; and Request for Public Comments: China’s Acts, Policies,

and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 82 Fed.

Reg. 40,213, 40,213 (U.S. Trade Rep. Aug. 24, 2017) (Initiation of Section 301 Investigation).

The initiation notice outlined the major areas of focus of the investigation, including the Chinese

government’s: (1) use of tools, such as “opaque and discretionary administrative approval

processes,” to “regulate or intervene in U.S. companies’ operations in China, in order to require

or pressure the transfer of technologies and intellectual property to Chinese companies”; (2) acts,

policies, and practices that “deprive U.S. companies of the ability to set market-based terms in

licensing and other technology-related negotiations with Chinese companies and undermine U.S.

companies’ control over their technology in China”; (3) direction and unfair facilitation of the



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“systematic investment in, and/or acquisition of, U.S. companies and assets by Chinese

companies” to obtain cutting-edge technologies and intellectual property; and (4) purported

unauthorized intrusions into U.S. commercial networks and other theft of intellectual property.

Initiation of Section 301 Investigation, 82 Fed. Reg. at 40,213-14.

       C.      The Section 301 Determination And Subsequent Tariffs

       Based on the information gathered, the USTR examined the four categories of acts,

policies, and practices identified in the initiation notice and made specific findings as to each

one. Notice of Determination and Request for Public Comment Concerning Proposed

Determination of Action Pursuant to Section 301: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 14,906 (U.S. Trade

Rep. Apr. 6, 2018) (Notice of 301 Determination). The USTR determined that China’s

technology transfer policies — including systemic pressures to transfer U.S. technology to

Chinese firms, as well as outright cyber-theft — were inconsistent with United States and

international norms and caused billions of dollars in estimated harm to the United States

economy every year. Id. at 14,907; see also Section 301 Findings at 17-18.

       After making the initial section 301 determination, the USTR, at the direction of the

President, determined it would be appropriate to impose an additional 25 percent ad valorem

duty on products of China, with an annual trade value of approximately $50 billion. Notice of

301 Determination, 83 Fed. Reg. at 14,907; see also Actions by the United States Related to the

Section 301 Investigation of China’s Laws, Policies, Practices, or Actions Related to Technology

Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 13,099, 13,100 (President of the

United States Mar. 22, 2018); Statement on Steps to Protect Domestic Technology and

Intellectual Property from China’s Discriminatory and Burdensome Trade Practices (May 29,



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2018), available at https://china.usembassy-china.org.cn/statement-on-steps-to-protect-domestic-

technology-and-intellectual-property-from-chinas-discriminatory-and-burdensome-trade-

practices/; Notice of Action and Request for Public Comments Concerning Proposed

Determination of Action Pursuant to Section 301: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 28,710, 28,711

(U.S. Trade Rep. June 20, 2018) (June 2018 Notice of Action).

       The additional duties were applied in two tranches or “Lists.” List 1 covered 818 tariff

subheadings, with an approximate annual trade value of $34 billion. June 2018 Notice of Action,

83 Fed. Reg. at 28,711. List 2 covered 279 tariff subheadings, with an approximate annual trade

value of $16 billion. Notice of Action Pursuant to Section 301: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg.

40,823, 40,823-24 (U.S. Trade Rep. Aug. 16, 2018).

               1.      List 3

       Unfortunately, Lists 1 and 2 did not have their desired effect of persuading China to

eliminate its unfair practices. Instead, in June 2018, China announced its intent to raise tariffs on

$50 billion worth of United States exports. See President of the United States, Statement from

the President Regarding Trade with China (June 18, 2018), available at https://china.usembassy-

china.org.cn/statement-from-the-president-regarding-trade-with-china/ (June 2018 Presidential

Directive); Request for Comments Concerning Proposed Modification of Action Pursuant to

Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 83 Fed. Reg. 33,608, 33,608 (U.S. Trade Rep. July 17, 2018) (Request

for Comments for List 3). In response, the President explained that China had “no intention of

changing its unfair practices related to the acquisition of American intellectual property and



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technology” and that, “[r]ather than altering those practices, it is now threatening United States

companies, workers, and farmers who have done nothing wrong.” June 2018 Presidential

Directive. Thus, the President “directed the United States Trade Representative to identify $200

billion worth of Chinese goods for additional tariffs at a rate of 10 percent.” Id. China

subsequently retaliated by imposing 25 percent ad valorem tariffs on $50 billion in United States

goods implemented in two stages of $34 billion and $16 billion at the same time the United

States implemented Lists 1 and 2. Request for Comments for List 3, 83 Fed. Reg. at 33,608-09.

       As a result, and at the express direction of the President, on July 17, 2018, the USTR

proposed to modify the section 301 action by imposing an additional 10 percent ad valorem duty

on products from China with an annual trade value of approximately $200 billion. Id at 33,609.

In announcing this modification, the USTR explained that further supplemental action was

required because, “[i]n light of China’s response to the $50 billion action . . . it has become

apparent that U.S. action at this level is not sufficient to obtain the elimination of China’s acts,

policies, and practices covered in the investigation.” Id. The USTR further explained that such

action was “appropriate in light of the statutory goal of obtaining the elimination of the acts,

policies, and practices covered in the investigation” because China’s response had shown that the

initial action was inadequate to promote the desired response. Id. As part of this process, the

USTR announced that it was seeking public comment and would hold a public hearing regarding

this proposed modification. Id.

       Subsequently, and at the direction of the President, the USTR announced that it was

considering increasing the duties from 10 percent to 25 percent ad valorem. Extension of Public

Comment Period Concerning Proposed Modification of Action Pursuant to Section 301: China’s




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Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 38,760, 38,760 (U.S. Trade Rep. Aug. 7, 2018).

        On September 17, 2018, the President released a statement that “[t]oday, following seven

weeks of public notice, hearings, and extensive opportunities for comment, I directed [the

USTR] to proceed with placing additional tariffs on roughly $200 billion of imports from

China.” President of the United States, Statement from the President (Sept. 17, 2018), available

at https://trumpwhitehouse.archives.gov/briefings-statements/statement-from-the-president-4/.

The President further directed that “[t]he tariffs will take effect on September 24, 2018, and be

set at a level of 10 percent until the end of the year. On January 1, [2019], the tariffs will rise to

25 percent.” Id. In his directive, the President stated that the United States had given China

multiple opportunities to change its trade practices and had “given China every opportunity to

treat us more fairly” but that, “so far, China has been unwilling to change its practices” and had

“recently imposed new tariffs in an effort to hurt the United States economy.” Id. As a warning

to the Chinese government not to engage in further retaliation and to encourage the Chinese

government to phase out its unfair trade practices, the President also warned that, “if China takes

retaliatory action against our farmers or other industries, we will immediately pursue phase three,

which is tariffs on approximately $267 billion of additional imports.” Id.

        In accordance with the Presidential directive, on September 21, 2018, the USTR

announced it was imposing List 3 and implementing the two-phase implementation of duties

described in the President’s September directive. Notice of Modification of Section 301 Action:

China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 47,974, 47,974-75 (U.S. Trade Rep. Sept. 21, 2018) (Notice Imposing

List 3). In the Federal Register notice announcing List 3, the USTR explained that, at the



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direction of the President, it was modifying the initial section 301 action pursuant to sections

307(a)(1)(B)-(C) (19 U.S.C. § 2417(a)(1)(B)-(C)). Id. at 47,974. Specifically, and in accordance

with section 307(a)(1)(B), the USTR explained that the “burden or restriction on United States

commerce” of the actions that were the subject of the section 301 investigation “continues to

increase, including following the one-year investigation period.” Id. The USTR further stated

that China’s actions included not only the initial practices that were the subject of the section 301

investigation, “but also China’s subsequent defensive actions taken to maintain those policies,”

including “impos[ing] approximately $50 billion in tariffs on U.S. goods.” Id.

       The USTR further explained that it was also acting pursuant to section 307(a)(1)(C),

which permits the USTR, subject to the direction of the President, to modify the section 301

action when the action taken pursuant to section 301(b) is “no longer appropriate.” Id. In doing

so, the USTR explained that:

                 China’s response . . . has shown that the current action no longer is
                 appropriate. China has made clear – both in public statements and
                 in government-to-government communications – that it will not
                 change its policies in response to the current Section 301 action. . .
                 . The United States has raised U.S. concerns repeatedly with
                 China, including in Ministerial level discussions, but China has
                 been unwilling to offer meaningful modifications to its unfair
                 practices. Furthermore, China openly has responded to the current
                 action by choosing to cause further harm to the U.S. economy, by
                 increasing duties on U.S. exports to China.

Id. at 47,975.

       Following the imposition of List 3, the USTR and China engaged in several rounds of

negotiations, and, as a result of perceived progress in those negotiations, and taking into account

comments received from both interested parties and the advisory committees, the USTR, in

accordance with direction from the President, delayed the imposition of the List 3 duties by twice

postponing the date they would take effect. Notice of Modification of Section 301 Action:

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China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 65,198, 65,198-99 (U.S. Trade Rep. Dec. 19, 2018); White House,

Statement from Press Secretary Regarding the President’s Working Dinner with China, (Dec. 1,

2018) (December 2018 White House Statement), available at https://trumpwhitehouse.

archives.gov/briefings-statements/statement-press-secretary-regarding-presidents-working-

dinner-china/; Notice of Modification of Section 301 Action: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg.

7,966, 7,966-67 (U.S. Trade Rep. Mar. 5, 2019).

       On May 9, 2019, the USTR announced that the 25 percent duties would take effect on

May 10, 2019, and that the increase was required because, in the most recent round of

negotiations with China, “China has chosen to retreat from specific commitments agreed to in

earlier rounds.” Notice of Modification of Section 301 Action: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg.

20,459, 20,459-60 (U.S. Trade Rep. May 9, 2019).

               2.      Lists 4A-4B

       In response to China’s retreat from its prior commitments and announcement that it

intended to take further retaliatory action, and in accordance with direction from the President,

the USTR again announced its intent to modify the section 301 action pursuant to section 307(a)

by imposing an additional ad valorem duty of up to 25 percent on products of China, with an

approximate annual trade value of $300 billion (List 4). Request for Comments Concerning

Proposed Modification of Action Pursuant to Section 301: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 22,564,

22,564 (U.S. Trade Rep. May 17, 2019). Specifically, the USTR explained that the modification



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was necessary “[i]n light of China’s failure to meaningfully address the acts, policies, and

practices that are subject to this investigation and its response to the current action being taken.”

Id.

       On August 1, 2019, the President announced that he was directing the USTR to impose

List 4 tariffs that would become effective on September 1, 2019, and at a rate of 10 percent, ad

valorem. HMTX Industries LLC et. al. v. United States, Ct. Int’l Trade No. 20-00177 (Docket

Entry No. 12, Pls.’ Am. Compl. at ¶ 55) (hereinafter “Am. Compl.”). Accordingly, the USTR

again modified the section 301 action by announcing the imposition of tariffs on List 4, imposing

tariffs immediately on List 4A and delaying the additional tariffs on List 4B. Notice of

Modification to Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304, 43,304-05 (U.S. Trade

Rep. Aug. 20, 2019) (Notice Imposing Lists 4A-B).

       In promulgating Lists 4A-B, the USTR again explained that, “[i]n accordance with the

specific direction of the President,” it was taking these actions pursuant to sections 307(a)(1)(B)-

(C), because the burden on United States commerce continued to increase as a result of both

China’s unfair trade practices, as well as its “subsequent defensive actions taken to maintain

those unfair acts, policies, and practices . . .” Id. at 43,304. The USTR noted that China had

“impose[d] tariffs on approximately $110 billion worth of U.S. goods” in order to pressure the

United States, and that its actions resulted in “increased harm to the U.S. economy.” Id. Thus,

the USTR explained that “the current action no longer is appropriate,” particularly in light of

China’s unwillingness to address its trade practices, retreat from prior commitments, and its

decision to devalue its currency. Id. at 43,304-5 (citing U.S. Dep’t of the Treasury, Treasury




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Designates China as a Currency Manipulator (Aug. 5, 2019), available at https://home.treasury.

gov/news/press-releases/sm751).

       The Notice Imposing Lists 4A-B stated that List 4A would be subject to an additional duty

of 10 percent ad valorem, effective September 1, 2019, and that the merchandise on List 4B

would also be subject to the same duty, but that, because that list “includes products where

China’s share of U.S. imports from the world is 75 percent or greater,” the USTR was delaying

the tariffs until December 15, 2019 “to provide for a longer adjustment period.” Id. at 43,305.

       Subsequently, and at the express direction of the President, the USTR determined to

increase the additional duties on Lists 4A-B to 15 percent. Notice of Modification of Section 301

Action: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 84 Fed. Reg. 45,821, 45,821 (U.S. Trade Rep. Aug. 30, 2019). Again,

the USTR stated that it was modifying the action pursuant to section 307(a)(1)(B)-(C), and that

China’s unfair trade practices and subsequent defensive actions, including the imposition of

further retaliatory tariffs, continued to harm United States commerce and rendered the prior

action no longer appropriate. Id. at 45,822.

       In December 2019, “following months of negotiations, the United States and China

reached a historic and enforceable agreement on a Phase One trade deal that requires structural

reforms and other changes to China’s economic and trade regime, including with respect to

certain issues covered in this Section 301 investigation.” Notice of Modification of Section 301

Action: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 84 Fed. Reg. 69,447, 69,447 (U.S. Trade Rep. Dec. 18, 2019).

Consequently, at the direction of the President, the USTR suspended the additional 15 percent in

duties covered by List 4B on December 18, 2019, because, given the progress in the negotiations



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to eliminate China’s unfair practices, the President concluded that the additional tariffs were “no

longer appropriate.” Id.

       On January 22, 2020, the USTR announced that, at the direction of the President, he was

reducing the duties of List 4A to 7.5 percent based on continued progress in trade negotiations

with China. Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 3,741, 3,471

(U.S. Trade Rep. Jan. 22, 2020). In particular, the USTR explained that the Phase One

agreement was scheduled to enter into force on February 14, 2020, and that the reduction in the

additional tariff rate on List 4A would take effect on that date. Id.

       The Phase One Agreement entered into force as scheduled. China has committed in the

Agreement to addressing some — though not all — of the issues covered in the section 301

investigation. This includes commitments by China to stop its ongoing policy of using informal

pressures to coerce technology transfer. The Administration is currently engaged in the process

of enforcing the Agreement, which involves constant monitoring and, when appropriate, raising

compliance issues with the Government of China. Further U.S.-China negotiations will address

additional concerns identified in the section 301 investigation. And as it has previously stated,

the current Administration is conducting a review of the U.S.-China policy, including with

respect to the section 301 tariffs. While this review is being undertaken, the tariffs on Lists 3 and

4A remain in effect.

                                           ARGUMENT

       A.      Standard Of Review

       Injunctive relief is “an extraordinary and drastic remedy, one that should not be granted

unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v. Armstrong,



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520 U.S. 968, 972 (1997) (emphasis in original) (quotations and citations omitted). A

preliminary injunction is “never awarded as of right.” Winter v. Natural Res. Def. Council, Inc.,

555 U.S. 7, 24 (2008) (citing Munaf v. Geren, 553 U.S. 674, 689-90 (2008)). To obtain a

preliminary injunction, a party must establish each of four elements: “(1) likelihood of success

on the merits, (2) irreparable harm absent immediate relief, (3) the balance of interests weighing

in favor of relief, and (4) that the injunction serves the public interest.” Silfab Solar, Inc. v.

United States, 892 F.3d 1340, 1345 (Fed. Cir. 2018) (citing Winter, 555 U.S. at 20).

        If a plaintiff “fails to prove any one of these factors, its motion must fail.” Shandong

Huarong Gen. Grp. v. United States, 122 F. Supp. 2d 143, 145 (Ct. Int’l Trade 2000); see also

Winter, 555 U.S. at 24-33 (denying injunctive relief based on public interest in national security,

without considering the other three factors); Trump v. Hawaii, 138 S. Ct. 2392, 2423, 201 L. Ed.

2d 775 (2018) (citing Winter and declining to address other preliminary injunction factors when

the plaintiff failed to establish a likelihood of success on the merits); J. Conrad LTD v. United

States, 457 F. Supp. 3d 1365, 1381 (Ct. Int'l Trade 2020) (citing Winter and declining to address

other preliminary injunction factors when the plaintiff failed to establish irreparable harm);

Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1350 (Fed. Cir. 2001) (plaintiff

cannot be granted preliminary relief “unless it establishes both of the first two factors, i.e.,

likelihood of success on the merits and irreparable harm.”) (emphasis in original) (citation

omitted).

        Below, we address each of the factors in turn. As we explain, three of the four factors —

likelihood of success on the merits, balance of harms and the public interest — weigh strongly

against plaintiffs’ request for injunctive relief. Because plaintiffs have clearly failed to satisfy

three of the four requirements for preliminary relief, the Court need not address the irreparable



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harm factor and/or the question of whether reliquidation would be available if plaintiffs were to

prevail on the merits of their claims. Winter, 555 U.S. at 31-33. However, below we explain

why the irreparable harm factor also weighs against granting a preliminary injunction.

        B.     Plaintiffs Have Not Demonstrated A Likelihood Of Success On The Merits

       Plaintiffs claim that, under the “sliding-scale approach,” they need only show “at least a

fair chance of success on the merits,” because “the balance of irreparable harm tilts sharply” in

their favor. Pl. Mot. 12. As a result, only two pages of plaintiffs’ motion address the likelihood

of success on the merits. This discussion fails to show even “a fair chance” of success on the

merits, and notably in the case that plaintiffs cite as authority for this standard, see Pl. Mot. 12,

the Federal Circuit affirmed the denial of a motion for preliminary injunction on the basis that

the movant had “not shown any probability of success on the merits,” and therefore, “a

preliminary injunction would not be appropriate even under the most lenient sliding-scale

standard.” Silfab Solar, 892 F.3d at 1345.3




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  The Court in Silfab Solar also questioned whether the sliding-scale approach is good law, in
light of the Supreme Court’s holding in Winter. Silfab Solar, 892 F.3d at 1345 (holding that a
preliminary injunction would not be appropriate, “[e]ven accepting (without deciding) the theory
that our sliding-scale jurisprudence remains good law after Winter”). The Court in J. Conrad
also noted that “[t]he question reserved by Silfab Solar,” i.e., “whether Winter permits relaxation
of the success on the merits element under the sliding scale standard,” is at the center of an
unresolved circuit split. 457 F. Supp. 3d at 1374, fn. 8. “The Third and Ninth Circuits read
Winter as not abrogating circuit precedent permitting relaxation of the likelihood of success
element under the sliding scale standard when there is a strong showing of irreparable harm,”
whereas the Fourth and Tenth Circuits construed Winter as “precluding relaxation of any of the
four preliminary injunction elements,” and “[t]he Fifth and Eleventh Circuits applied this
standard prior to Winter.” Id. (citations omitted). “The Second Circuit holds that its own unique
balancing test survives Winter,” but “in cases where the government is the party against whom
preliminary injunctive relief is sought, the Second Circuit declines for separation of powers
reasons to relax the likelihood of success element even when there is a strong showing of
irreparable harm.” Id. (citations omitted). Finally, the Sixth, Seventh, and D.C. Circuits have
not confronted whether the sliding scale approach “is congruent with Winter.” Id. (internal
citations omitted).
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       Plaintiffs have failed to satisfy the success factor, regardless of the standard employed by

the Court — likelihood of success on the merits or “a fair chance of success on the merits.”

Silfab Solar, 892 F.3d at 1345. Rather than addressing the merits of their claims, plaintiffs’

motion simply repeats several allegations in their complaint: (1) section 304 of the Trade Act

required the USTR to determine what action to take, if any, within 12 months of initiating a

section 301 investigation; (2) the “modification” authority under section 307 of the Trade Act

does not permit the USTR to expand the imposition of tariffs to other imports from China for

reasons untethered from those investigated under section 301; and (3) the authority to modify a

trade action when it is “no longer appropriate” only permits the USTR to delay, taper or

terminate — not increase — the actions already taken. Pl. Mot. 12-13; see also Am. Compl. at

¶¶ 2, 17, 28, 67-69. Plaintiffs’ cursory treatment of these allegations falls far short of satisfying

the likelihood of success on the merits factor, and thus warrants denial of their motion.

               1. The President And The USTR Possess Authority To Modify
                  The Original Action When The Foreign Government Refuses
                  To Eliminate Or Actually Worsens Its Unfair Trade Practices

       Plaintiffs cannot meet the high bar that the Federal Circuit has set for successfully

challenging the President’s (or the USTR’s) actions. In Maple Leaf Fish Co. v. United States,

762 F.2d 86, 89 (Fed. Cir. 1985) the Federal Circuit confirmed that “[i]n international trade

controversies of this highly discretionary kind — involving the President and foreign affairs . . .

[f]or a court to interpose, there has to be a clear misconstruction of the governing statute, a

significant procedural violation, or action outside delegated authority.” See Silfab Solar, 892

F.3d at 1346 (“[T]here are limited circumstances when a presidential action may be set aside if

the President acts beyond his statutory authority, but such relief is only rarely available.”) (citing

Corus Grp. PLC v. Int’l Trade Comm’n, 352 F.3d 1351, 1356 (Fed. Cir. 2003)).



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       Here, plaintiffs have failed to establish any violation of the statute much less a “clear

misconstruction.” Maple Leaf, 762 F.2d at 89. Instead, plaintiffs incorrectly allege that the

USTR, at the direction of the President, was precluded from taking action because more than a

year had passed since the section 301 investigation was initiated. Section 307(a), however, does

not contain a one-year time limit — or any time limit at all. To the contrary, within the statutory

structure, section 307(a) serves the necessary role of allowing for a resolution of the issues under

investigation, and the consequent termination of the trade action. If section 307(a) were

somehow construed as having the same one-year time limit as is applicable to the initial

investigation, the statute would provide no mechanism for lifting a trade action upon a successful

resolution. In fact, section 307(c) provides that a 301 action will not otherwise terminate for —

at the earliest — four years.

         Furthermore, section 307(a) provides that the USTR may, for example, “modify” an

action if the “burden or restriction on United States commerce of the denial rights, or of the acts,

policies, and practices, that are the subject of such action has increased or decreased.” 19 U.S.C.

§ 2417(a)(1)(B). The fact that the USTR is authorized to take action if the burden on United

States commerce subsequently increases supports both that the level of the action could increase,

and that Congress envisioned that the USTR would continue to monitor section 301

investigations and react if the initial action was ineffective at resolving the unfair or

discriminatory trade practice. See also 19 U.S.C. § 2416 (providing for ongoing monitoring of

certain types of section 301 actions); 19 U.S.C. § 2417(c) (calling for a four-year review of

section 301 actions, including a consideration of “other actions that could be taken”).

       The other asserted grounds briefly alluded to in plaintiffs’ motion for challenging the

USTR’s authority fare no better. As explained in the Notice Imposing List 3, 83 Fed. Reg. at



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47,974-95, and in the Notice Imposing Lists 4A-B, 84 Fed. Reg. at 43,304-05, the increase in the

tariffs was necessary to further encourage China to eliminate the unfair polices identified in the

USTR’s investigation (that List 1 and List 2 had demonstrably failed to do), and thus to further

support the effectiveness of the initial section 301 action. Indeed, these notices stated that China

sought to pressure the President and the USTR to drop the initial section 301 action — through

China’s adoption of tariffs successively on $50 billion and $110 billion of United States goods,

as well as other measures such as the devaluation of its currency — and that if China were

successful, this would only allow it to perpetuate its discriminatory and harmful practices. Id.

        These actions fall squarely within the President and the USTR’s authority to “modify . . .

any action . . . if . . . the burden on United States commerce . . . of the acts, policies, and

practices, that are the subject of such action has increased.” 19 U.S.C. § 2417(a)(1)(B). The

President’s and the USTR’s construction of these statutory terms is not “a clear misconstruction

of the governing statute, a significant procedural violation, or action outside of delegated

authority.” Maple Leaf, 762 F.2d at 89. Plaintiffs’ misreading of the statute — which would

deny the President and the USTR the flexibility to respond to a trading partner’s refusal to

eliminate its unfair trade practices and, instead, to retaliate in hope of pressuring the United

States to withdraw its initial action — is fundamentally inconsistent with the purpose of taking

action under section 301 in the first place, which is implementing whatever measures are

“appropriate” to obtain the elimination of the unfair “act, policy, or practice.” 19 U.S.C. §

2411(b)(2).

        Nor can the statute be read to require the President and the USTR, in modifying an action

under section 307, to direct tariffs to specific categories of goods, particularly if they determine

other action is more “appropriate” to eliminate the unfair act, policy, or practice. 19 U.S.C.



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§§ 2417(a)(1); 2411(b)(2). Notably, in imposing the initial tariffs following the section 301

investigation, the President and the USTR were not restricted to imposing tariffs on certain

categories of goods from a particular economic sector. Instead, they possess the discretion to

“impose duties or other import restrictions on the goods of, and notwithstanding any other

provision of law, fees or restrictions on the services of, such foreign country for such time as the

Trade Representative determines appropriate.” 19 U.S.C. § 2411(c)(1)(B). Furthermore, the

statute specifically provides that “[t]he actions the Trade Representative is authorized to take

under subsection (a) or (b) may be taken against any goods or economic sector … (B) without

regard to whether or not such goods or economic sector were involved in the act, policy, or

practice that is the subject of such action.” 19 U.S.C. § 2411(c)(3).

       Plaintiffs are also wrong that section 307(a)(1) limits Presidential authority so that the

President, or the USTR at his direction, can only “delay, taper, or terminate” the initial section

301 action. Pl. Mot. 13. This interpretation is at odds with the plain text of the provision, which,

as noted, includes modifications to address situations in which the burden on U.S. commerce has

increased. Furthermore, the legislative history makes abundantly clear that Congress did not

intend the word “modify” to restrict the President’s and the USTR’s discretion. As mentioned

above, the House Committee on Ways and Means directly addressed this issue, indicating that it

was adding section 307, and stated the following:

               Any modification may be either an increase or a reduction in the
               level or the form of action, as appropriate.
                       ...
               Modifications could either be reduction or elimination of the action
               if it has achieved the desired objective or continuation is not in the
               U.S. economic interest, or additional or increased measures if
               further leverage or offsetting action is deemed necessary and
               appropriate.



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H. REP. NO. 100-40 (1987) at 75-76 (emphasis added). The Senate Report further confirms this

position, as does the Conference Report. See S. REP. NO. 100-71 (1987) at 84; H.R. CONF. REP.

NO. 100-576 (1988) at 564.

       Moreover, plaintiffs’ interpretation begs the question: What kind of negotiator would the

President (or the USTR) be if he could only “delay, taper, or terminate” the initial section 301

action if he subsequently concluded the initial action was ineffective?4 This interpretation would

require the President (or the USTR) to take the most aggressive action imaginable at the outset,

risking diplomatic turmoil, rather than proceeding cautiously and only taking the minimum

action necessary to eliminate the foreign unfair trade practices. In enacting section 307,

Congress did not cabin the President’s (or the USTR’s) discretion in this way.

       Plaintiffs’ statutory construction also fails because it would produce “absurd results

inconsistent with the statute’s context.” See Dupuch-Carron v. Sec’y of Health & Hum. Servs.,

969 F.3d 1318, 1330 (Fed. Cir. 2020); see also Milavetz, Gallop & Milavetz, P.A. v. United

States, 559 U.S. 229, 252 (2010) (declining to “adopt a view of the statute that . . . would

produce an absurd result”); Haggar Co. v. Helvering, 308 U.S. 389, 394 (1940) (explaining that

a reading of a statute that “would lead to absurd results is to be avoided when [it] can be given a

reasonable application consistent with [its] words and with the legislative purpose.”). Indeed,

Congress enacted the Trade Act of 1988 and strengthened section 301 because it wanted the

United States to “vigorously pursue appropriate action whenever necessary . . . to respond to . . .

unfair foreign acts, policies, or practices determined by the USTR to be actionable under section




4
  The Conference Report on H.R. 3 shows that the original language was “the action is not
effective or its continuation is not in the national economic interest.” H.R. CONF. REP. 100-576
(1988) at 564. The Senate’s amendment added the language that is now codified at 19 U.S.C.
§ 2417(a)(1)(B).
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301.” S. Rep. No. 100-71 (1987) at 80. In discussing the amendments to section 301 as part of

H.R. 3, Senator Lautenberg aptly stated:

               But if section 301 is to pack any punch against unfair trading
               practices, we must do more than launch investigations. We must
               be ready to retaliate. Because if a referee blows his whistle and
               never walks off the yardage, pretty soon the game deteriorates.
               That’s what’s happening now in trade.

133 CONG. REC. (1977) at 20,486 (statement of Sen. Lautenberg).

       It would make no sense for Congress to give the USTR (and the President in directing the

USTR) expansive authority initially for “vigorous[ ]” action, only to “let the game deteriorate” if

the foreign country refused to eliminate the unfair trade practices or retaliated. Id.; S. REP. NO.

100-71 (1987) at 80. If plaintiffs’ reading of the statute were correct, it would mean that

Congress intended the United States to have no leverage in conducting trade negotiations.

Countries with unfair trade practices would know that the President and the USTR would have

only one opportunity to determine what action would be “appropriate” to eliminate an unfair

trade policy or practice and could not revisit that decision if the initial action did not have the

desired effect, or the foreign country’s trade practices actually worsened. Such an interpretation

would only incentivize other countries to refuse to negotiate and take wide-ranging retaliatory

measures knowing that the President and the USTR would be powerless to respond without

conducting a new investigation. This would leave the United States worse off for attempting to

obtain the elimination of unfair and discriminatory practices than if it had never taken action in

the first place. This patently absurd result is plainly not what Congress intended.

               2. Plaintiffs Fail To Address The Anticipated Defenses Set Forth
                  In Defendants’ Master Answer

       Plaintiffs’ motion also fails to address the anticipated defenses raised in defendants’

Master Answer, namely, that: (1) the USTR was acting at the direction of the President in


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promulgating List 3 and List 4, and the President is not subject to the APA; (2) Review of the

President’s discretionary decisions, and the USTR’s implementation of those decisions, present a

non-justiciable, political question; (3) Alternatively, if the challenged actions constitute agency

action, they are exempt from the APA’s informal rulemaking requirements, because they qualify

for the foreign affairs function exception; and (4) Even if the APA’s informal rulemaking

requirements apply, the USTR’s actions in promulgating List 3 and List 4 complied with all

statutory requirements, and they were not arbitrary and capricious, contrary to law, or in excess

of statutory authority. We will fully brief each of these issues in our upcoming dispositive

motion, but we summarize each defense below.

       President Not Subject to APA. Congress has constrained this Court’s section 1581(i)

jurisdiction through the corresponding standing statute, 28 U.S.C. § 2631(i). That statute

provides that only those who have been “adversely affected or aggrieved by agency action within

the meaning of section 702” of the APA have standing to bring a challenge pursuant to 28 U.S.C.

§ 1581(i). Plaintiffs do not challenge agency action; rather, they challenge the action of the

President in directing the USTR. As we explained above, the USTR acted at “the specific

direction . . . of the President,” see 19 USC § 2417(a)(1), rather than exercising independent

discretion, in imposing Lists 3 and 4, and in suspending, increasing, or reducing the tariff rates

on those lists. Thus, the APA is unavailable to challenge these presidential actions because the

President is not an “agency” within the meaning of the APA. Franklin v. Massachusetts, 505

U.S. 788, 800-01 (1992); see also Armstrong v. Bush, 924 F.2d 282, 2889 (D.C. Cir. 1991)

(“[W]e refuse to hold that the President is an ‘agency’ within the meaning of the APA”).

       Review of President’s Discretionary Decisions Presents a Non-Justiciable, Political

Question. The political question doctrine encompasses subject matter deemed inappropriate for



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judicial review, despite otherwise meeting jurisdictional requirements. Baker v. Carr, 369 U.S.

186, 210-17 (1962). Courts review the existence of a non-justiciable political question by

evaluating six factors identified in Baker, including “a lack of judicially discoverable and

manageable standards for resolving [an issue].” Id. at 217. Here, given the highly discretionary

nature of what is “appropriate” to obtain the elimination of a trading partner’s unfair trade

practices, section 307 of the Trade Act lacks a “judicially discoverable and manageable standard

[ ] for resolving it.” Id. It is not for the judiciary to insert itself into the highly political process

of negotiating and resolving a trade dispute, and to limit the President’s international negotiating

flexibility. Id. at 210-11. Accordingly, the USTR’s actions, as specifically directed by the

President, are beyond the review of this Court.

        Alternatively, the Challenged Actions Qualify for the Foreign Affairs Function Exception.

In certain circumstances, agency action is exempt from the APA’s notice-and-comment

requirements. See 5 U.S.C. § 553(a). One exception is the foreign affairs function exception.

See 5 U.S.C. § 553(a)(1). Numerous types of agency action fall within the foreign affairs

function exception, including the negotiation and/or administration of international agreements,

see, e.g., Mast Indus., Inc. v. Regan, 596 F. Supp. 1567, 1582 (Ct. Int’l Trade 1984), and actions

related to the President’s power to conduct foreign policy. Am. Ass’n of Exps. and Imps.-Textile

and Apparel Grp. v. United States, 751 F.2d 1239, 1249 (Fed. Cir. 1985). Here, the challenged

actions were part of the negotiation of an international trade agreement, as well as the President’s

“overall political agenda concerning relations with another country.” Id. Thus, these actions fall

squarely within the foreign affairs function exception to the APA’s rulemaking requirements.

        Even if the APA Applies, the USTR’s Actions were not Arbitrary and Capricious,

Contrary to Law, or in Excess of Statutory Authority. The USTR followed all of the APA’s



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notice-and-comment requirements. First, the USTR provided sufficient notice of the proposed

rulemaking by publishing notices in the Federal Register announcing the promulgation of List 3

and List 4. Second, the USTR solicited comments on a public rulemaking docket. Third, the

USTR held a public hearing, even though none is required when modifying an action pursuant to

section 307(a)(2). When promulgating Lists 3 and 4, the USTR took into account public

comments, which is evidenced by revisions made to the original proposed Lists 3 and 4

following the public hearings and the review of the public comments. Finally, the USTR’s

actions were not contrary to law or in excess of statutory authority, for the reasons set forth

above.

         For all of these reasons, plaintiffs have failed to demonstrate any chance of success on the

merits, let alone a likelihood of success. Plaintiffs’ superficial treatment of the merits factor —

basically relying on the existence of their complaints without even considering our Master

Answer — warrants denial of their motion for a preliminary injunction. Winter, 555 U.S. at 31-

33; Amazon.com, 239 F.3d at 1350.

         C.     The Public Interest And Balance Of Hardships Compel Denial
                Of Injunctive Relief

         Even if plaintiffs could establish that they are likely to succeed on the merits and will

suffer irreparable harm, that showing would still be “outweighed” by the balance of hardships

and the public interest, see Winter, 555 U.S. at 33, factors that “merge when the Government is

the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Turning to these factors, the

balance of hardships does not weigh in plaintiffs’ favor, nor is it in the public interest to enjoin

the collection of tariffs designed to counteract China’s unfair and retaliatory trade policies.

         It has long been recognized that the Court “should pay particular regard for the public

consequences” when “employing the extraordinary remedy of injunction.” Winter, 555 U.S. at 24


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(quotations and citations omitted). Indeed, in Winter, the Supreme Court reversed the lower

courts, concluding that, even if petitioners were likely to succeed on the merits and had shown

irreparable harm, the public interest and balance of equities weighed decisively against

injunctive relief. Id. at 23-31. The Court held that “the balance of equities and consideration of

the public interest . . . are pertinent in assessing the propriety of any injunctive relief,” as “[a]n

injunction is a matter of equitable discretion; it does not follow from success on the merits as a

matter of course.” Id. at 32 (citation omitted).

                1. The Public Interest Weighs Against Suspending Liquidation

        Plaintiffs’ assertions of irreparable harm (i.e., the inability to recover certain of the

assessed duties should plaintiffs prevail on the merits) are far outweighed by the public interest

in maintaining the challenged section 301 trade actions. The USTR’s section 301 investigation

found that China’s technology transfer policies were inconsistent with United States and

international norms and caused billions of dollars in damages to the United States economy

every year. Notice of 301 Determination, 83 Fed. Reg. at 14,907; see also Section 301 Findings

at 17-18. Specifically, the USTR determined:

                1. China uses foreign ownership restrictions, such as joint venture
                   requirements and foreign equity limitations, and various
                   administrative review and licensing processes, to require or
                   pressure technology transfer from U.S. companies.

                2. China’s regime of technology regulations forces U.S.
                   companies seeking to license technologies to Chinese entities
                   to do so on non-market-based terms that favor Chinese
                   recipients.

                3. China directs and unfairly facilitates the systematic investment
                   in, and acquisition of, U.S. companies and assets by Chinese
                   entities to obtain cutting-edge technologies and intellectual
                   property and generate large-scale technology transfer in
                   industries deemed important by China.



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               4. China conducts and supports unauthorized intrusions into, and
                  theft from, the computer networks of U.S. companies to access
                  their sensitive commercial information and trade secrets.

Id.
        In these circumstances, the Trade Act directs the USTR to take all appropriate and

feasible action to obtain the elimination of China’s policies. And where, as here, the Government

is acting at the direction of Congress, adding its constitutional authority to regulate trade to the

President’s constitutional authority over foreign affairs, the “public interest” is the policy

underlying the specific legislation. Yakus v. United States, 321 U.S. 414, 442 (1944). Injunctive

relief interfering with action authorized by Congress and taken by the President, after following

all of the procedures set forth in the operative statute, would plainly contravene the public

interest.

        Moreover, the actions taken in response to the section 301 investigation, including the

challenged List 3 and List 4A tariffs, provide strong incentives for China to end the unfair trade

practices that hurt United States competitiveness in international markets and harm United States

workers and businesses every day. A suspension of liquidation would encourage China to

maintain its harmful practices while awaiting a resolution of the section 301 cases. In addition, a

suspension of liquidation may even encourage importers to purchase goods from China, which

could also undermine the effectiveness of the challenged trade actions.

        Not only would a suspension of liquidation adversely affect the public interest, it would

also impose an unprecedented and enormous burden on the Government, and in particular CBP,

the agency that would be tasked with effectuating such an order. As outlined in the attached

declaration, it is simply untrue, as plaintiffs allege, that the Government would only incur

“routine administrative costs” implementing an order to suspend liquidation of the entries at

issue. Pl. Mot. at 14. Indeed, as of March 31, 2021, over 12.7 million entries have been made

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that are subject to section 301 duties under List 3 or List 4A, over 4.9 million of which remain

unliquidated as of March 31, 2021. Declaration of Thomas Overacker, Executive Director,

Cargo & Conveyance Security, Office of Field Operations, CBP (hereinafter “CBP Decl.”).

Section 301 entries are generally filed as Type “01,” and their liquidation is not automatically

suspended in CBP’s Automated Commercial Environment (ACE). CBP Decl. ¶ 5-6. Thus,

suspending the liquidation of all of the relevant entries would be an extremely resource-intensive

and burdensome task, which would include, among other steps: identifying all of the thousands

of importers and importer of record numbers (IOR numbers) associated with plaintiffs in the

section 301 cases; identifying all of the unliquidated entries of merchandise subject to List 3

and/or List 4A for each of those thousands of importers; effectuating a suspension for each and

every entry by entering a suspension code in ACE for each entry; and suspending liquidation on

an importer-by-importer basis on all future entries subject to section 301 duties made by the

thousands of subject importers throughout the duration of this litigation. Id. at ¶¶ 7, 10. CBP

will need to undertake this same process for any additional plaintiffs that may also file section

301 cases in the future. Should CBP inadvertently liquidate any entries during the course of this

litigation, it would then need to manually return those entries to unliquidated status upon order of

the Court, which may only be accomplished one entry at a time. Id. at ¶ 9. Moreover, upon

conclusion of the litigation, CBP would be faced with the overwhelming task of having to

liquidate the millions of entries for which liquidation was enjoined pursuant to court order within

a very short period of time, and the risk that entries would deem liquidated is high. Id. at ¶ 12.

       CBP is an agency with limited resources, but with a broad mission that entails many

competing priorities. Id. at ¶ 13. Suspending the liquidation of all future entries and

unliquidated past entries at issue here would divert agency resources away from other priority



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functions, thus compromising the agency’s ability to perform them properly. This resource

concern weighs heavily against plaintiffs’ motion.

        2. The Balance Of Hardships Favors The Government

        This factor also weighs in the Government’s favor. Especially given that plaintiffs

waited years to challenge the List 3 and List 4 trade actions — during which time over 12.7

million entries subject to the challenged duties were made, and about 7.8 million of these entries

were liquidated — the balance of hardships strongly favors denying plaintiffs’ motion. The fact

that plaintiffs seek what they describe as “narrow relief” does not change the significant

administrative burden that their requested relief would impose on the Government, or the fact

that they could have significantly mitigated any such burden by bringing a timely challenge to

the List 3 and List 4 trade actions (i.e., before millions of entries had been made that are subject

to the challenged tariffs).

        3. Defendants’ Alternative Proposed Order Does Not Change The
           Balance Of Hardships

        As requested by the Panel during the April 26, 2021 status conference, we have

endeavored to identify ways to reduce the cataclysmic impact that a suspension of liquidation in

this mammoth litigation would have on CBP. Our alternative proposal is attached as an

addendum to this opposition. We appreciate the Panel’s sensitivity to reducing the

administrative burdens any preliminary injunction would impose, and we have responded in

good faith to the Panel’s request. Nevertheless, we urge the Panel to deny plaintiffs’ motion

because it fails to satisfy any of the four required factors for preliminary injunctive relief,

including irreparable harm as discussed below, and we reserve our rights to appeal.




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       D.      Plaintiffs Have Not Demonstrated Irreparable Harm

       Because plaintiffs’ failure to satisfy the other factors required for a preliminary injunction

is clear, this Court need not consider irreparable harm. Nonetheless, this factor also weighs

against plaintiffs’ request for interim relief. A plaintiff seeking an injunction bears an

“extremely heavy burden” to establish irreparable injury. Shandong Huarong, 122 F. Supp. 2d at

146 (citation omitted). Critically, “irreparable harm may not be speculative, or determined by

surmise.” Comm. Overseeing Action for Lumber Int'l Trade Investigations or Negots. v. United

States v. United States, 393 F. Supp. 3d 1271, 1276 (Ct. Int'l Trade 2019) (citations omitted). As

the Federal Circuit has explained: “A preliminary injunction will not issue simply to prevent a

mere possibility of injury, even where prospective injury is great. A presently existing, actual

threat must be shown.” Zenith Radio Corp. v. United States, 710 F.2d 806, 809 (Fed. Cir. 1983)

(quoting S. J. Stile Assoc. v. Snyder, 646 F.2d 522, 525 (C.C.P.A. 1981)). Thus, courts must

deny a preliminary injunction unless the movant demonstrates “that irreparable injury is likely in

the absence of an injunction.” Winter, 555 U.S. at 22 (citations omitted) (emphasis in original).

               1. Plaintiffs’ Allegations Of Irreparable Harm Are Undermined
                  By Their Delay

       Plaintiffs claim that the threat of irreparable harm is “obvious.” Pl. Mot. at 5-6, 10.

Specifically, they claim that the risk of “permanently los[ing] the ability to recover any entries

that liquidated prior to final judgment” constitutes irreparable harm. Id. at 11.

       First, any claim of irreparable harm is undercut by the fact that plaintiffs waited over two

years to challenge the List 3 and List 4 tariffs. In addition, plaintiffs waited seven months from

the filing of their complaint to raise issues regarding relief before the Court. When deciding a

motion for a preliminary injunction, it is “reasonable for the [trial] court to consider the issue of

delay and to find that [the plaintiff] had not proceeded as quickly as it could have in seeking


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preliminary injunctive relief.” Apple, Inc. v. Samsung Elecs. Co., Ltd., 678 F.3d 1314, 1326

(Fed. Cir. 2012); High Tech Med. Instrumentation, Inc. v. New Image Indus., Inc., 49 F.3d 1551,

1557 (Fed. Cir. 1995) (same). Delay in requesting an injunction “implies a lack of urgency and

irreparable harm.” Oakland Tribune, Inc. v. Chronicle Publ’g Co., 762 F.2d 1374, 1377 (9th Cir.

1985). Thus, plaintiffs’ lengthy delay in bringing suit severely undermines any claimed need for

injunctive relief.

                2. Economic Harm Is Insufficient To Demonstrate Irreparable Harm

        To the extent that plaintiffs claim that they will be financially harmed as a result of

paying the tariffs, the Court repeatedly has declined to find irreparable harm based merely on

claims of financial losses. See, e.g., Corus Grp. PLC v. Bush, 217 F. Supp. 2d 1347, 1355 (Ct.

Int’l Trade 2002) (threat of “economic injury” does not constitute irreparable harm). In Corus,

despite testimony that “sound business principles would require [the company] to close the plant

rather than operate at a loss,” the Court concluded that the plaintiff had failed to establish

irreparable harm because there was no evidence the plant was “in danger of imminent closure.”

Id. And, in Shandong Huarong, the Court concluded that the plaintiff failed to establish

irreparable harm when it submitted an affidavit from its “major customer” in the United States

stating that it would cancel all existing and future orders if cash deposits were required.

Shandong Huarong, 122 F. Supp. 2d at 146-47. Noting that “affidavits submitted by interested

parties are weak evidence, unlikely to justify a preliminary injunction,” the Court found that the

plaintiff did not meet its burden because the affidavits were not supported by evidence

“indicating exactly how and when these lost sales would force it out of business.” Id. at 147

(quotations and citations omitted).

        Here, the plaintiffs did not even attempt to support their irreparable harm arguments with

affidavits purporting to show that, without an order suspending liquidation, their very existence
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would be threatened. Indeed, they do not even protest the requirement that they continue to pay

the contested tariffs through the conclusion of the litigation. Thus, their “irreparable harm”

arguments, the sole pillar upon which their request for injunctive relief rests, boil down to the

fact that they will not be able to recover tariffs imposed largely during periods during which they

slept on their claims.

               3. Regardless Of Whether Reliquidation Is Available, The Harm Factor Still
                  Does Not Weigh In Plaintiffs’ Favor

       The Court need not reach the issue whether reliquidation would be available as a remedy

should plaintiffs ultimately prevail, given that plaintiffs’ assertion of irreparable harm is

undermined by their delay, and by their failure to show more than some potential economic

losses. Moreover, as we explained, plaintiffs have failed to prove the other three factors required

to obtain a preliminary injunction. However, in light of plaintiffs’ focus on the availability of

reliquidation in their motion, we set forth our views on this issue. As explained below, we

recognize that this Court, and the litigants, are bound by Shinyei Corp. of Am. v. United States,

355 F.3d 1297 (Fed. Cir. 2004), which held that the rule of finality is not as far reaching as may

be implied by Zenith (discussed below).

       We also acknowledge that, in three recent cases, the Government relied on Shinyei for the

proposition that reliquidation is available in appropriate circumstances, and did not seek to

challenge the validity of that decision in those cases. See Sumecht NA, Inc. v. United States, Fed.

Cir. No. 2019-1015 (Docket Entry No. 28, Br. for Def.-Appellee at 25) (“[W]e have represented

unequivocally that, should Sumec prevail on the merits of this case, the trial court has the power

to grant Sumec relief, including the authority to order the Government to reliquidate Sumec’s

entries”); see also id. at 24 (“First, the Court ‘limited’ the general rule regarding injunctions ‘to

section 516 actions[.]’ Shinyei, 355 F.3d at 1309. This holding is not only in accordance with


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the plain meaning of 19 U.S.C. § 1516a, but it is clear, predictable, and easily applied by the

trading community and the courts….”); Severstal Exp. GmbH v. United States, Ct. Int’l Trade

No. 18-57 (Docket Entry No. 30, Def.’s Mot. To Dismiss and Opp. To Prelim. Req. for

Injunctive Relief at 36); J. Conrad Ltd. v. United States, Ct. Int’l Trade No. 20-00052 (Docket

Entry No. 42, Defs.’ Resp. to Pls.’ Mots. for a Prelim. Inj. at 3 and Docket Entry No. 56, Defs.’

Resp. to the Court’s Order of April 7, 2020 at 1-2). In other section 1581(i) cases, the

Government has either agreed to stipulations whereby the Court ordered CBP to reliquidate

entries with refunds or otherwise has not objected to the Court’s authority to order CBP to

reliquidate entries with refunds.

       While the Government opposed the outcome in Shinyei, we have also recognized that it is

binding precedent. Therefore, we have relied on its holding in defending against certain requests

to suspend the liquidation of entries. However, given the magnitude of the section 301 trade

program and the number of Government stakeholders involved, as well as the significance of the

section 301 litigation, we have taken a close look at the issue of the availability of reliquidation

under Shinyei. In light of the uncertainty surrounding its application, and consistent with our

initial opposition to Shinyei, we have determined not to concede its applicability here and to

preserve our right to appeal a decision ordering suspension based on the holding of Shinyei.

Below we set forth why, in our view, the case should not serve as the basis for relief here, either

at the preliminary injunction stage or, if plaintiffs prevail, when final judgment is entered.

       When goods are imported into the United States, CBP is obligated to “fix the final

amount of duty to be paid on such merchandise and determine any increased or additional duties,

taxes, and fees due[.]” 19 U.S.C. § 1500(c). CBP calculates the “final computation or

ascertainment of duties” through a process called “liquidation.” 19 C.F.R. § 159.1. Liquidation



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generally occurs approximately 314 days after entry of the merchandise. To the extent CBP errs

in its computation or ascertainment of duties, Congress provided a remedy. Specifically,

importers may file an administrative protest against liquidation within 180 days of the

liquidation. 19 U.S.C. § 1514(c)(3). Section 1514(a) broadly describes the types of matters that

may be protested, but once an entry has liquidated, the statute provides that it

               shall be final and conclusive upon all persons (including the
               United States and any officer thereof) unless a protest is filed in
               accordance with this section, or unless a civil action contesting the
               denial of a protest, in whole or in part, is commenced in the United
               States Court of International Trade in accordance with chapter 169
               of title 28 within the time prescribed by section 2636 of that title.

See 19 U.S.C. § 1514(a) (emphasis added). If CBP agrees with the importer, CBP will correct

the error by granting the protest and reliquidating the entry.

       If CBP denies the protest, in whole or in part, an importer may commence a civil action

within 180 days from the mailing of the notice of the denial. 28 U.S.C. § 2636(a)(1). If the

importer prevails in its challenge, the trial court has the authority to correct any errors by

ordering, in part, the reliquidation of entries. If, however, an importer does nothing to challenge

a liquidation, it becomes “final and conclusive” 180 days from the date of liquidation. 19 U.S.C.

§ 1514(a). Once a liquidation becomes final and conclusive, generally neither CBP nor the

Courts may alter or set aside the transaction, including the assessment of duties.

       Federal Circuit case law demonstrates that the rule of finality of liquidations is not

limited to Customs decisions that can be protested pursuant to 19 U.S.C. § 1514(a). Specifically,

in Zenith Radio Corp. v. United States, 710 F.2d 806 (Fed. Cir. 1983), the Federal Circuit

analyzed the availability of reliquidation in an action brought pursuant to 28 U.S.C. § 1581(c) to

challenge a determination by the Department of Commerce (Commerce). The Court found that

19 U.S.C. § 1516a, the statute governing judicial review in countervailing duty and antidumping


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duty proceedings, authorizes it “to enjoin liquidation of entries pending the court’s decision.”

Zenith, 710 F.2d at 811 (citing 19 USC § 1516a(c)(2)). However, “[t]he statutory scheme has no

provision permitting reliquidation in this case or imposition of higher dumping duties after

liquidation.” Id. at 810. Thus, “[o]nce liquidation occurs, a subsequent decision by the trial

court on the merits of [a claimant’s] challenge can have no effect on the dumping duties assessed

on entries ….” Id. Zenith shows that, in the absence of an injunction enjoining liquidation, an

entry will liquidate in the normal administrative course and that liquidation will become final and

conclusive. Moreover, while Zenith involved an action brought pursuant to section 1581(c), its

holding demonstrates that the rule of finality is not limited to liquidations that are protestable in

accordance with section 1581(a). If reliquidation is not available upon a successful challenge

under section 1581(c), Zenith indicates that reliquidation should not be available upon a

successful challenge under section 1581(i) either.

       Nevertheless, the Court in Shinyei rejected the Government’s reliance on the rule of

finality, as applied to actions brought under section 1581(i) and the APA alleging a violation of

19 U.S.C. § 1675(a)(2)(C), and seeking corrected instructions from Commerce. The Court

explained that section 1514(a) “is fairly construed to prohibit a challenge to ‘decisions’ of the

Customs Service ‘as to’ liquidation outside the protest provisions of section 1514(a).” Shinyei,

355 F.3d at 1311. “It is not, however, fairly construed to prohibit reliquidation in all cases,

particularly when the alleged error is with Commerce instructions . . . , not ‘decisions of the

Customs Service’ as to liquidation.” Id.; see also Gilda Indus., Inc. v. United States, 625

F.Supp.2d 1377, 1385 (Ct. Int’l Trade 2009), aff’d 622 F.3d 1358 (Fed. Cir. 2010) (ordering

CBP to reliquidate entries with refunds, and holding that “reliquidation is not prohibited where a

decision of Customs is not being challenged”) (citing Shinyei, 355 F.3d at 1311).



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       Since Shinyei, however, three Federal Circuit decisions have cast uncertainty as to the

applicability of Shinyei beyond the specific facts of that case. Ugine and Alz Belgium v. United

States, 452 F.3d 1289 (Fed. Cir. 2006) involved another challenge to Commerce instructions

implementing antidumping and countervailing duties. Id. at 1291. The Federal Circuit held that

19 U.S.C. § 1514 “does not provide a basis for an importer to challenge the lawfulness of a

liquidation instruction of the Department of Commerce, as opposed to the lawfulness of an

action of Customs.” Id. at 1295. The Court also noted that, “at first blush, Shinyei appears to

provide [the importer] with an avenue for seeking a judicial remedy even if liquidation occurs,

because [the importer], like Shinyei, challenges only Commerce’s liquidation instructions.” Id.

at 1296. However, the Court was uncomfortable denying injunctive relief, given that the

importer in Shinyei challenged Commerce’s instructions based on having “alleged a violation of

19 U.S.C. § 1675(a)(2)(C),” whereas the importer in Ugine raised a different type of challenge

that was not based on the same statute. Id. The Court found that the “difference between the

two cases — and the possibility that Shinyei will not be interpreted to encompass the sort of

claim at issue here — raises doubt whether [the importer] will have the opportunity to obtain

reliquidation once its entries are liquidated, even if it is ultimately found to have a strong case on

the merits.” Id.

       The Federal Circuit took a similar approach in a case challenging Commerce’s authority

to issue certain corrected liquidation instructions resulting from “a computer programming error

in Commerce’s antidumping margin calculation.” American Signature, Inc. v. United States, 598

F.3d 816, 821 (Fed. Cir. 2010). The Court again reversed the trial court’s denial of a motion for

a preliminary injunction, holding “that the possibility of Shinyei relief does not defeat




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[plaintiff’s] claim of irreparable harm.” Id. at 829. However, the appellate court did not explain

why Shinyei relief might be lacking in that case. Id.

       Most recently, in Sumecht NA, Inc. v. United States, 923 F.3d 1340 (Fed. Cir. 2019), the

Federal Circuit acknowledged that “neither [Ugine or American Signature] is a model of clarity

for establishing when Shinyei relief may be unavailable in § 1581(i) actions challenging

Commerce’s liquidation instructions or when a sufficient showing of irreparable harm can be

established by the potential of such relief being unavailable.” Sumecht NA, Inc., 923 F.3d at

1348. At the same time, the Court stated that it does “not read Ugine and American Signature as

creating a presumption that, in the preliminary injunction context, Shinyei relief is uncertain for

purposes of irreparable harm in § 1581(i) actions because such a presumption runs counter to

Shinyei’s holding that the CIT has ‘broad remedial powers,’ including the ability to order

reliquidation.” Id. (citing Shinyei, 355 F.3d at 1312). Ultimately, the Federal Circuit upheld the

trial court’s denial of the motion for a preliminary injunction, noting the Government’s

representation that such relief would be available based on Shinyei. Id.

       Viewed through the lens of developments since Shinyei, the relief in Shinyei could be

seen as necessary to protect a judgment of this Court, rather than authority for reliquidation as a

garden variety remedy in any case brought pursuant to section 1581(i). Indeed, the liquidation

instructions at issue in Shinyei contravened this Court’s judgment in the underlying Commerce

administrative review. Shinyei, 355 F.3d at 1301-03, 1312 (“to accept the government’s

argument would preclude enforcement of court orders as to duty determinations as soon as

entries subject to those orders are liquidated, even where liquidation was under erroneous

instructions that fail to reflect the amended administrative review results implementing the

courts’ determinations, as required by section 1675(a)(2)(C)”). It is now clear that the Court



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possesses authority to order reliquidation if necessary to enforce and protect the integrity of its

own judgments or orders. See, e.g., Home Prods. Int’l, Inc. v. United States, 405 F. Supp. 3d

1368, 1376 (Ct. Int’l Trade 2019) (declaring Customs’ liquidation of the entries unlawful, and

ordering that each entry be reliquidated in accordance with the judgment), appeal dismissed,

Appeal No. 2020-1202, 2021 WL 560757, at *1 (Fed. Cir. Feb. 16, 2021); see also Agro Dutch

Indus. Ltd. v. United States, 589 F.3d 1187, 1191-92 & n.1 (Fed. Cir. 2009) (“While

the Zenith rule ordinarily renders moot court actions in which liquidation has already occurred,

we have acknowledged that there are exceptions to that general rule. For example, mootness

does not occur when steps are required to enforce a valid injunction.”) (citing Yancheng Baolong

Biochem. Prods. Co. v. United States, 406 F.3d 1377, 1381-82 (Fed. Cir. 2005) and Shinyei, 355

F.3d at 1312). Indeed, the Agro Dutch Court characterized Shinyei as declining “to find that the

statute [imposing finality upon liquidations] as a whole was intended to preclude judicial

enforcement of court orders after liquidation.” Id. at 1191-92 (alteration in original). Unlike the

cited cases, upholding the finality of liquidation in the section 301 cases would not “preclude

judicial enforcement of court orders after liquidation.”5 Id.

       Regardless, as noted, we believe that reliquidation is not available under the relevant

statutory framework, and that Shinyei conflicts with the Federal Circuit’s holding in Zenith.

Indeed, no statutory provision allows the liquidation of entries to be enjoined by the Court in

section 1581(i) actions, and the liquidation of any entries at issue in the section 301 cases should



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 The Court in Agro Dutch did not decide whether the Zenith rule extends beyond the context of
cases governed by 19 U.S.C. § 1516a. See 589 F.3d at 1190 (Zenith establishes a general rule,
“at least in the context of judicial review under 19 U.S.C. § 1516a,” that liquidation moots a
party's claims pertaining to the liquidated entries). However, for the reasons set forth in this
section, and notwithstanding the holding of Shinyei, an injunction to preserve a court order is not
warranted in this case.

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therefore be held to be final and conclusive. 19 U.S.C. § 1514(a); Zenith, 710 F.2d at 810 (in the

absence of a statutory provision permitting reliquidation, “[o]nce liquidation occurs, a

subsequent decision by the trial court on the merits of [a claimant’s] challenge can have no effect

on the dumping duties assessed on entries ….”). Accordingly, should the Court determine that

reliquidation is available as a remedy if plaintiffs prevail on their claims, we reserve our right to

appeal this issue.

         In sum, plaintiffs’ motion for a preliminary injunction should be denied without reference

to the availability, or not, of reliquidation as a remedy at the end of the case.6 Plaintiffs have

failed to demonstrate any of the requisite factors required for such relief, all of which weigh in

the Government’s favor and warrant denial of plaintiffs’ motion.

                                          CONCLUSION

         For these reasons, we respectfully request that the Court deny plaintiffs’ motion.

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                                                    Acting Assistant Attorney General

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  Should the Panel declare, as plaintiffs request, that reliquidation would be available as a
remedy if plaintiffs prevail in the litigation, then it should be unnecessary for the Court to also
impose the tremendous burden and cost of a suspension of liquidation on potentially millions of
unliquidated (including future) entries of Lists 3 and 4A merchandise from China imported by
plaintiffs.


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                             CERTIFICATE OF COMPLIANCE

       I, Jamie L. Shookman, an attorney in the Office of the Assistant Attorney General, Civil

Division, Commercial Litigation Brach, International Trade Field Office, who is responsible for

the Government’s opposition to plaintiffs’ motion for preliminary injunction limited to

suspension, dated March 14, 2021, relying upon the word count feature of the word processing

program used to prepare the memorandum, certify that this memorandum complies with the

word count limitation under the Court’s chambers procedures, and contains 13,419 words.

                                                            /s/ Jamie L. Shookman
